               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
         vs.                                          ) Case No. 18-3137-01/02-CR-S-BP
                                                      )
                                                      )
DEANNA L. HARRIS, a/k/a Deanna L.                     )
 Tolbert, and                                         )
ROBIN L. PARKER, a/k/a Robin L.                       )
  Ragan,                                              )
                                                      )
                               Defendants.            )


                              ORDER OF REFERENCE TO
                          UNITED STATES MAGISTRATE JUDGE

         The Indictment in the above-styled cause was filed in the Southern Division of this Court

on the 12th day of December, 2018, and was assigned to the undersigned United States District

Judge.

         Pursuant to Section 636(b), Title 28, United States Code, and Rule 72(j) of the Local

Rules of Procedure of the United States District Court for the Western District of Missouri, it is

hereby

         ORDERED that United States Magistrate Judge David P. Rush is designated to hear and

determine all pretrial motions or matters now pending, or hereafter filed in this criminal action,

except (1) a motion to dismiss or quash the Indictment, and (2) a motion to suppress evidence, in

accordance with the provisions of Section 636(b)(1)(A), Title 28, United States Code; and such




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pretrial motions or matters now pending or hereafter filed in this criminal action are hereby

referred to the Magistrate Judge to hear and determine.

       Any party may appeal from the Magistrate Judge’s order determining a motion within

(14) days after issuance of the order unless a different time is prescribed by the Magistrate judge

or the undersigned District Judge. Such party shall file with the Clerk of Court, and serve the

Magistrate Judge and all parties, a written statement of the appeal, which shall specifically

designate the order, or part thereof, appealed from and the basis for the appeal. The undersigned

District Judge will consider the appeal and set aside any portion of the Magistrate Judge’s order

found to be clearly erroneous or contrary to law. The undersigned District Judge may reconsider

sua sponte any motion determined by the Magistrate Judge. It is further

       ORDERED that United States Magistrate Judge David P. Rush is designated to hear and

process all pretrial motions to (1) dismiss or quash the Indictment, and (2) suppress evidence,

now pending or hereafter filed in this criminal action, in accordance with the provisions of

Section 636(b)(1)(B) and (b)(1)(C), Title 28, United States Code; and all such pretrial motions

now pending or hereafter filed in this criminal action are hereby referred to the Magistrate Judge

to hear and process. Any party may object to the Magistrate Judge’s proposed findings and

recommendations in respect to (1) a motion to dismiss or quash the Indictment, or (2) a motion to

suppress evidence, within ten (14) days after being served with a copy of the proposed findings

and recommendations. Such party shall file with the Clerk of Court and serve the Magistrate

Judge and all parties written objections which shall specifically identify the portion or portions of

the proposed findings and recommendations to which an objection is made and the basis for each

objection.




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       The undersigned District Judge will make a de novo determination of those portions of

the proposed findings and recommendations to which specific objection is made, and may

accept, reject or modify, in whole or in part, the proposed findings or recommendations made by

the Magistrate Judge. The undersigned District Judge need not conduct a new hearing and may

consider only the record developed before the Magistrate Judge in making his de novo

determination. The undersigned District Judge may receive further evidence, recall witnesses, or

recommit the motion to the Magistrate Judge with instructions.

       ORDERED that the Magistrate Judge may, in his/her discretion, reassign any motions

referred to him/her pursuant to this order, to another Magistrate Judge for processing and

handling. In the event of such a reassignment, the Magistrate Judge to whom the motion is

reassigned is designated to hear and determine or hear and process the motion in accordance

with the provisions of this order.

                                             /S/ Beth Phillips

                                             UNITED STATES DISTRICT JUDGE



Springfield, Missouri

Date: December 12, 2018




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